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                                                KING COUNTY
3                                          SUPERIOR COURT CLERK
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4                                          CASE #: 22-2-03620-6 KNT

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                  IN THE SUPERIOR COURT OF THE STATE OF WASHINGTON
8                           IN AND FOR THE COUNTY OF KING

9     CAROLYN WRIGHT, an individual,
                                                      NO.
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                              Plaintiff,
11
          vs.                                         COMPLAINT
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      WALMART, INC., a foreign profit
13    corporation,
14
                              Defendants.
15
            COMES NOW Plaintiff, Carolyn Wright, by and through her attorneys, Pellegrino L. Certa
16
     and Cheryl J. Farrish, of the Certa Farrish Law Group, and for cause of action against the
17

18   Defendants, alleges the following:

19                                           I.    PARTIES

20          1.1     Plaintiff, CAROLYN WRIGHT, is a an individual currently residing in King
21   County, Washington.
22
            1.2     Defendant, WALMART INC. is a foreign profit corporation licensed to conduct
23
     business and doing business in King County, Washington.
24
            1.3     All acts giving rise to this complaint occurred in King County, Washington.
25

26          1.4     Venue is proper in King County, Washington.

27    COMPLAINT FOR NEGLIGENCE- 1                                                     CERTA FARRISH LAW GROUP
                                                                                       A Professional Service Corporation
                                                                                        320 DAYTON STREET, SUITE 260
28                                                                                            EDMONDS, WA 98020
                                                                                        Telephone Number.: (206) 838-2500
                                                                                           Fax Number: (206) 838-2502
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1                   II.    STATEMENT OF FACTS AND CAUSES OF ACTION
2           2.1     On 05/17/2021, Plaintiff Carolyn Wright was a customer and business invitee at
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     Defendant’s store, Walmart, located at 1900 South 314th Street, Federal Way, Washington 98003.
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     Plaintiff Carolyn Wright, while on the premises of the Defendant, slipped and fell due to a
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     dangerous condition on the Defendant’s premises.
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7           2.2     As an operator of a grocery establishment, the Defendant owed to persons such as

8    the Plaintiff, a duty to exercise ordinary care for its customers' and employee’s safety. This

9    includes the exercise of ordinary care to maintain, in a reasonably safe condition, those portions
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     of the premises that such person is expressly or impliedly invited to use or might reasonably be
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     expected to use. Defendant breached this duty which resulted in the plaintiff being injured.
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            2.3     As a result of the negligence of Defendant Walmart Inc., the Plaintiff was injured,
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     suffered, and continues to suffer physical injuries and disability, pain, emotional trauma, medical
14

15   expenses, loss of enjoyment, and other damages, including, but not limited to, property damage.

16          2.4     Plaintiff’s damages include, but are not limited to: physical, psychological and
17   emotional injuries, loss of nurture and guidance, loss of enjoyment of life, loss of wages, medical
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     expenses, out-of-pocket expenses, emotional distress, pain and suffering and other damages that
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     are currently ongoing and which will be proven at trial.
20
            2.5     As a result of Defendant's negligence and breach of its duty to Plaintiff as a business
21

22   invitee or licensee, Plaintiff has suffered severe and permanent injuries and special and general

23   damages in an amount to be proven at trial.

24                                            III.    NOTICE
25          The Plaintiff hereby waives the physician-patient privilege ONLY to the extent required
26
     by RCW 5.60.060, as limited by the Plaintiff’s constitutional rights of privacy, contractual rights
27    COMPLAINT FOR NEGLIGENCE- 2                                                         CERTA FARRISH LAW GROUP
                                                                                           A Professional Service Corporation
                                                                                             320 DAYTON STREET, SUITE 260
28                                                                                                 EDMONDS, WA 98020
                                                                                             Telephone Number.: (206) 838-2500
                                                                                                Fax Number: (206) 838-2502
                 Case 2:22-cv-00877-RSL Document 1-2 Filed 06/22/22 Page 3 of 3



1    of privacy, and the ethical obligation of physicians and attorneys not to engage in ex parte contact
2    between a treating physician and the patient's legal adversaries.
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                                      IV.    PRAYER FOR RELIEF
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            WHEREFORE, the Plaintiff prays for the following relief against the Defendants:
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            1.       For all reasonable and necessary past and future medical expenses, pain and
6

7    suffering, disfigurement, emotional distress, loss of enjoyment of life, and other special and

8    general damages in an amount to be proven at trial;

9           2.       For all costs and disbursements;
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            3.       For reasonable and actual attorneys' fees;
11
            4.       For pre- and post judgment interests; and
12
            5.       For such further and other relief as this Court deems just and proper.
13
            DATED this _____
                        14 day of _________,
                                  March      2022.
14

15                                                 CERTA FARRISH LAW GROUP, INC., P.S.

16

17
                                                   Pellegrino L. Certa, WSBA No. 25903
18
                                                   Cheryl J. Farrish, WSBA No.: 41698
19                                                 Attorneys for Plaintiff

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27    COMPLAINT FOR NEGLIGENCE- 3                                                        CERTA FARRISH LAW GROUP
                                                                                          A Professional Service Corporation
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